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                                             Chicago        Melville          Nashville         San Diego            Wilmington

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                                                           June 17, 2024

                                                                                                                           VIA ECF


     Magistrate Judge Joseph A. Marutollo
     United States District Court
       for the Eastern District of New York
     225 Cadman Plaza East
     Courtroom N324
     Brooklyn, NY 11201

               Re:      In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                        No. 1:05-MD-1720 (MKB)(JAM)

    Dear Judge Marutollo:

            As a courtesy, Rule 23(b)(3) Class Counsel (“Class Counsel”) is filing Milberg Coleman
    Bryson Phillips Grossman, LLC’s (“Milberg”) response to the Court’s Order dated June 7, 2024, as
    the firm has not yet made an appearance in this Action.

           Milberg’s response is attached as Exhibit A, and Class Counsel’s response will be filed June
    24, 2024, as ordered by the Court.

                                                             Respectfully submitted,



                                                             ALEXANDRA S. BERNAY
    Attachment

    cc:     All Counsel via ECF
            Gary M. Klinger (via email)




    4854-4456-7752.v1

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